      Case 2:15-cv-01805-JCC
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                    UNITED STATES COURT OF APPEALS                          MAY 22 2018

                                                                        MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




MICHAEL HEIT,                                   No.    16-35981

             Plaintiff-Appellant,               D.C. No. 2:15-cv-01805-JCC
                                                Western District of Washington,
 v.                                             Seattle

AEROTEK, INC.,
                                                ORDER
             Defendant-Appellee.




      The Court finds this case suitable for decision without oral argument. This

case shall be submitted on the briefs and record, without oral argument as of

June 12, 2018, in Seattle, Washington. Fed. R. App. P. 34(a)(2).




                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT


                                             By: Omar Cubillos
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
